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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
                                                                      :
JAMI FLOYD,                                                           :
                                                                      :
                                      Plaintiff,                      :
                                                                      :   23-CV-_______
                       - against -                                    :
                                                                      :   COMPLAINT
NEW YORK PUBLIC RADIO,                                                :
                                                                      :   JURY TRIAL DEMANDED
                                      Defendant.                      :
                                                                      :
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        Plaintiff Jami Floyd (“Floyd”), by and through her attorneys, Cerasia Law LLC, for her

Complaint against defendant New York Public Radio (“NYPR”), alleges as follows:

                                     PRELIMINARY STATEMENT

        1.       Floyd is a Black female. She is an attorney and highly respected, well-known and

award-winning broadcast journalist, legal and political analyst, and television and radio host. Floyd

is nationally and internationally regarded as an expert on the intersection of race and law.

        2.       In January 2009, Floyd started providing her services as a legal analyst and guest

host to WNYC, a radio station owned by NYPR. She became an employee of NYPR in June 2015,

as the local host for All Things Considered on WNYC. She voluntarily resigned from her

employment in April 2022.

        3.         Floyd was reluctant to accept employment with NYPR in 2015, because it had a

reputation of not supporting Black employees, but she did so after senior leadership told her that

she would have a significant editorial voice in the Newsroom, and would ultimately be in line to

replace Leonard Lopate when he stepped down as the host of The Leonard Lopate Show on

WNYC. Based on those assurances, Floyd commenced her employment with NYPR.
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       4.       Shortly after starting her employment with NYPR, however, Floyd faced a racially

hostile work environment, where she was bullied, demeaned and undermined. This behavior

continued throughout her employment, and amounted to a continuing violation of her rights under

the anti-discrimination laws. Despite being a talented, well-educated and smart Black woman with

significantly more experience than most employees in the Newsroom at WNYC, it was made clear

to Floyd that she was not respected, editorially trusted or admired.

       5.       Throughout the years of her employment, Floyd complained repeatedly to senior

leadership, Human Resources and the Board of Trustees about this hostility, but no action was

taken. All the while, and despite her valiant effort to move her career forward, her career was

derailed. Indeed, like many employees of color at WNYC, Floyd was hazed by supervisors and,

despite prior assurances, was not given plum assignments, shows or time slots, and her editorial

ideas were not supported and mostly disregarded. As Floyd asserted herself, the work environment

became more hostile, with management and editors in the Newsroom sidelining her and preventing

her from excelling at her job. This created a retaliatory hostile work environment for Floyd and

was a continuing pattern and violation throughout her employment. At the same time, management

responsible for show development led Floyd to believe that WNYC had plans to elevate her to the

daytime host slot as soon as it became available.

       6.       Leadership also asked Floyd, as a prominent Black talent at WNYC, to support her

Black colleagues who were struggling in a culture that did not support them and to act as a diverse

spokesperson to help NYPR raise money, which she did for many years as the Black poster woman

for WNYC. Floyd routinely met with Black staff in her studio and off campus to talk about their

trials and tribulations at NYPR. As the only on-air Black news host, and the only Black woman,




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Floyd was held out as a leader on issues of race and gender, a role she responsibly fulfilled, despite

the toll it took on her time, energy and spirits.

        7.        Between at least 2017 and 2021, NYPR continually denied Floyd advancement to

host shows that she was more than qualified to host – and for which she regularly filled in as the

host – and deprived her of just compensation and paid her less than non-Black hosts to whom she

should have been compared because of her race and prior complaints about discriminatory

treatment.

        8.       Floyd brings this lawsuit against NYPR to recover lost wages, compensatory

damages and punitive damages, as well as declaratory and equitable relief to redress NYPR’s

continuous violation and pattern of unlawful race discrimination and retaliation that deprived her

of advancement and promotion and resulted in lower compensation than comparators, in violation

of Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981 et seq. (“Section 1981”); the

New York State Human Rights Law, N.Y. Exec. Law § 296 (“SHRL”), and the New York City

Human Rights Law, N.Y. City Administrative Code §§ 8-101 et seq. (“CHRL”).

                                  JURISDICTION AND VENUE

        9.       This Court has subject matter jurisdiction over Floyd’s Section 1981 claims

pursuant to 28 U.S.C. §§ 1331 and 1343.

        10.      This Court has supplemental jurisdiction over Floyd’s SHRL and CHRL claims

pursuant to 28 U.S.C. § 1367(a).

        11.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the events

or omissions giving rise to this action, including the unlawful employment practices alleged herein,

occurred in this District.




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                                            PARTIES

          12.   Floyd, who resides in Manhattan, was employed by NYPR and worked at WNYC

from 2015 through early-2022, when she voluntarily resigned from her employment.

          13.   NYPR is a not-for-profit corporation, incorporated in 1979, and is a publicly

supported organization based in Manhattan. NYPR owns the radio station known as WNYC.

                                             FACTS

          14.   Floyd graduated from Binghamton University in 1986, with a B.A. in political

science and a concentration in Journalism. In 1989, she graduated with honors from the University

of California Berkeley School of Law, where she had been an associate editor of the Law Review,

President of her class and salutatory speaker at graduation.

          15.   After graduating law school, Floyd was a law clerk to an Associate Justice on the

California Supreme Court. Thereafter, she was in the private practice of law at Morrison Foerster

in San Francisco, and later worked as a public defender in San Francisco.

          16.   In 1993, Floyd was selected to serve as a White House Fellow in the Clinton

Administration, where she spent the majority of her time advising the Vice President on issues of

crime, youth violence and the judiciary. During her fellowship year, Floyd also worked in First

Lady Hillary Clinton’s “Health Care War Room.”

          17.   After her time working in the White House, Floyd received a Master of

Laws degree in 1996 from Stanford University Law School, where she also worked as a teaching

fellow.

          18.   While at Stanford, Floyd began serving as a legal analyst at CBS News. She was a

founding member of Court TV, co-anchoring a show in prime time. From there, Floyd joined ABC

News to help lead the Law & Justice Unit, and later returned to Court TV to host her own two-



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hour daily talk show. Floyd also has worked as a Chief Legal Contributor for Al Jazeera America

and as a legal and political analyst at MSNBC and PBS.

       19.    In 2009, Floyd started providing her services as a legal analyst and guest host to

WNYC. She became an employee of NYPR in 2015, as the local host for All Things Considered

on WNYC. Floyd remained the host of All Things Considered until she was moved to the Race &

Justice Unit in September 2020.

       20.    Floyd was reluctant to accept employment with NYPR, but she did so after the then-

Vice President for News, Jim Schachter, promised that she would have, among other things, a

significant editorial voice in the Newsroom and would contribute creatively to the news cycle.

Then-Chief Content Officer, Dean Cappello, also told Floyd that she would be in line to replace

Leonard Lopate, then-age 75, when he stepped down as the host of The Leonard Lopate Show on

WNYC. Based on those assurances, Floyd commenced her employment with NYPR.

       21.    Shortly after starting her employment with WNYC, however, Floyd began facing a

racially hostile work environment, where she was bullied, demeaned, and undermined. Despite

being a talented and smart Black woman, with 20+ years of experience in the news industry – more

than her two direct supervisors and most other journalists in the Newsroom – it was made clear to

Floyd that she was not respected, editorially trusted, or admired. Throughout the years of her

employment, Floyd complained repeatedly to NYPR senior leadership and Human Resources. She

even brought her concerns about this hostility to the Board of Trustees, including to Executive

Committee member Jonelle Procope, who is African-American, but no action was taken. All the

while, Floyd’s career was derailed. Indeed, like many employees of color at WNYC, Floyd was

hazed by supervisors, and despite prior assurances, she was denied the opportunity to advance or

receive plum assignments, and her editorial ideas were not supported and were mostly disregarded.



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        22.     As Floyd asserted herself, the work environment became more hostile, with

management and editors in the Newsroom sidelining her and preventing her from excelling at her

job. This created a retaliatory hostile work environment for Floyd and was a continuing pattern

and violation throughout her employment. At the same time, management asked Floyd, as a

prominent Black talent at WNYC, to support her black colleagues who were struggling in a culture

that did not support them. Floyd routinely met with Black staff in her studio and off campus to talk

about their trials and tribulations at NYPR. As the only Black on-air news host, and a woman, she

was held out as a leader on issues of race and gender, a role she responsibly fulfilled, despite the

toll it took on her time, energy and spirits.

        23.     NYPR was not shy about trotting out Floyd as the Black poster woman to help it

raise funds for WNYC. Without hesitation, Floyd appeared at top-dollar fundraisers often – even

when the white male hosts of talk shows did not do so, despite being paid substantially more than

her. Floyd never missed a pledge drive, even though many white male hosts did not participate in

the drives. Floyd provided a Black face at events that required one – including hosting and

producing each year at the Apollo Theater to honor Dr. Martin Luther King. Floyd helped to raise

millions of dollars over the years for NYPR.

        24.     NYPR also leaned on Floyd to recruit Black people to apply for jobs there. This

was very challenging for Floyd, given the race schism inside WNYC and her own experiences

with being denied opportunities because of her race and opposition to race discrimination.

        25.     In 2017, it was revealed that several male hosts at NYPR had engaged in sexual

harassment. Floyd was one of many women who complained about the sexually-charged work

environment at WNYC.




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       26.     In 2017, Schachter sought to terminate Floyd’s employment after she complained

about fellow host John Hockenberry’s sexual harassment of staff, along with other problems in the

Newsroom. Floyd survived Schachter’s retaliatory conduct at that point, but her work environment

became more hostile and challenging as a result.

       27.     Despite the retaliatory environment, Floyd helped WNYC deal with the fallout of

long-standing unlawful and reprehensible conduct by Caucasian male show hosts Hockenberry,

Lopate and Jonathan Schwartz. She remained one of only two female news hosts at WNYC, and

the only Black news host amid a scandal that was all about race and gender.

       28.     On the day that WNYC suspended Lopate in December 2017, Schachter and

Cappello promised Floyd in conversations, which they followed up in emails, to elevate her to take

over Lopate’s midday show. The promises from Cappello and Schachter were designed to keep

Floyd at WNYC during a time of bleak public relations around race and gender, as well as keep

her silent about the real problems she witnessed behind the scenes. But, Schachter and Cappello

did not follow through with those promises, and that was because of her race and prior complaints

about discriminatory and harassing conduct. As Floyd would later realize, this was just the

beginning of NYPR’s continuous pattern of race discrimination and retaliation against her and was

consistent with the pattern of mistreatment of other Black employees over the years.

       29.     In July 2018, Schachter announced he would be forming a committee to design a

new midday show, thereby publicly humiliating Floyd by denying her the host-chair in the time

slot previously occupied by Lopate and forcing her to audition for a role she long ago had been

promised. While Floyd had been promised that job in December 2017, she went along with the

midday audition process hoping that, after one final step, the promise would be honored in the end.

By this point, Cappello had been pushed out of WNYC in the wake of allegations of sexual



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harassment against top hosts at WNYC and, upon information and belief, concerns about his own

inappropriate conduct.

       30.     On July 16, 2018, Schachter called Floyd to a meeting and, when she showed up,

Chief Human Resources Officer Dana Teplitsky and Executive Editor for News Sean Bowditch

were present. Floyd was concerned with Teplitsky’s presence at the meeting, and she asked if she

was “being fired.” Schachter told her that she was not being fired, but that she was not getting the

midday timeslot, and he “wanted witnesses” present for that news. In Floyd’s experience, it was

unusual for Schachter to have Human Resources present for a meeting. Teplitsky’s presence

suggested to Floyd that something was awry, because, had this been an ordinary selection process,

Teplitsky would not have been present to deliver this news. Floyd has no doubt that she was denied

this long-awaited and promised opportunity to host because of her race and her advocacy on behalf

of victims of Hockenberry and Lopate, her constant questions about diversity and inclusion at

WNYC, and her refusal to kowtow to the mostly male and all-white editor pool in the Newsroom,

instead standing up for editorial empowerment on All Things Considered.

       31.     Within an hour after that July 2018 meeting, Floyd met with then-President Laura

Walker, making it clear that she was disappointed with the midday host decision, and saying the

process was discriminatory. Floyd also detailed the racially discriminatory treatment she had

endured and noted that there was a great imbalance around compensation at WNYC based on race.

Floyd specifically told Walker that, as a Black woman, she felt “devalued,” noting that she did not

have an office, staff or other appropriate support for a show as demanding as All Things

Considered, while her Caucasian male counterparts on less demanding shows had large staffs and

budgets. Shortly thereafter, Floyd also had a conversation with NYPR’s Deputy General Counsel,

Janna Freed, about her complaints of discrimination, which was the first of several such



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conversations with Freed about discriminatory treatment. Floyd also spoke with Board of Trustee

Jonelle Procope about these concerns.

       32.     For instance, Floyd was earning approximately $160,000 for hosting All Things

Considered on the air for 4 hours per day (plus pre-tape time) – among other duties, including, for

example, reporting from the field, serving as the legal analyst supporting all WNYC’s

programming and representing NYPR at off-site fundraising events – and yet was making about

the same or less than staff who supported the Brian Lehrer Show. Floyd also was paid considerably

less than Caucasian talk show hosts – some of whom she filled in for – even though she was at

least equally as qualified as them, if not more qualified. Floyd’s complaints led NYPR to

conducting a workplace investigation.

       33.     Despite not getting the long-anticipated midday slot, Floyd continued to present

ideas in the Newsroom about programming that focused on race and gender-related issues –

including opportunities to interview leading civil rights activists, high-profile politicians, and

women of prominence to whom she had access. She suggested alternative program ideas – some

of which were picked up at other stations after WNYC ignored them or shot them down. Despite

Floyd’s tireless efforts, however, Schachter, his successors and the Newsroom continued to give

Floyd little support.

       34.     Until the day Schachter was forced to leave WNYC in 2019, he continued to display

his open hostility toward the advancement of Black employees, stating in 2018 with the arrival of

Depelsha McGruder that “now we have a black COO. What’s next, a Black president?” Schachter

also made other racially hostile comments over the years, including one he made just before a NY

Association of Black Journalists event, when he said that he could not compete sartorially with all




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the Black people in the room since, in his view, Black people always would out-dress him. These

are just some examples.

       35.     Racial insensitivity was part of the culture at WNYC. In May 2019, WNYC

instituted its infamous “n-word” policy to manage the use of the n-word on its airwaves. From the

start, WNYC pulled Floyd, as its token Black news talent, into this conversation, which was

draining for her and demeaning. WNYC set up an emergency editorial committee to navigate the

use of the word on-air at all hours of the day and night. It came to be called the “Black Editorial

Committee,” to the chagrin of Black employees, including Floyd. Serving on the Committee was

taxing and exploitative for Floyd, requiring significant time and emotional energy, with no extra

compensation. WNYC simply used Floyd for the color of her skin. Other Black employees felt

similarly abused.

       36.     In 2019, Walker and Schachter left WNYC, and new CEO Goli Sheikholeslami

arrived in the Summer 2019. Unfortunately, the culture did not change, and challenges at WNYC

remained around race and equity. As Floyd had stated to Walker in her office and many times

during staff meetings, “the true measure of a company is in who gets hired, who gets promoted,

whether people are compensated equitably, and who is leaving the company and why.” In 2019,

WNYC clearly was falling short in all those metrics. Floyd tried to meet with Sheikholeslami and

new Chief Content Officer Andrew Golis, who also arrived in 2019, on more than one occasion to

share her experiences at WNYC, but they did not meet with her until they were in crisis in 2021,

with the hiring of a controversial new Editor-in-Chief for the Newsroom.

       37.     Given that Sheikholeslami and Golis ignored Floyd’s requests for a meeting about

Newsroom culture, starting in the winter of 2019, Floyd had meetings with Leah Johnson, then a

new member of the Board of Trustees and an African-American. During her meetings with



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Johnson, Floyd expressed great concern about the work culture, environment and mistreatment of

Black employees at WNYC. Floyd even arranged for Johnson to meet off-site with eight Black

employees in early-June 2019 – seven of whom later left WNYC, at least in part because of

challenges they faced as Black employees. These Black employees recounted to Johnson their

negative experiences as Black employees at WNYC. Those meetings put the Board on notice about

the continuing hostile work environment for Black employees, including the lack of support for

their work and ideas and the headwinds they faced as employees at WNYC. Even then, no

corrective action was taken, which sent the message to Floyd and her fellow Black employees that

NYPR condoned this race-based conduct.

       38.     Throughout her employment, Floyd continued to be bullied and harassed, including

by Program Director Jacqueline Cincotta and Supervising Senior Producer Richard Yeh, which

created on-going challenges for her in the Newsroom and prevented her from performing her job

duties. This conduct included, but was not limited to, verbal bullying, a reporting structure

different from other similarly-situated, non-Black hosts, and denial of an editor title that was

granted to similarly-situated and far less experienced, non-Black employees. This pattern of

conduct was designed to make Floyd feel uncomfortable and unwelcomed, and it did. This conduct

also directly and negatively impacted her ability to perform her duties, her productivity, her job

satisfaction and her emotional well-being.

       39.     On June 24, 2019, Floyd lodged a complaint with the Human Resources Business

Partner for News, Rebecca Shapiro, about the abuse from Cincotta. Yet, no action was ever taken

by Shapiro or WNYC. Floyd had also put CEO Laura Walker and Schachter on notice about

Cincotta before their departures, but they also failed to take any corrective action. Floyd had made

similar complaints on November 28, 2018, to WNYC’s outside consultant, Equitable, but no action



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was taken in response to her complaints at that point, either. Thus, it was clear to Floyd that WNYC

condoned this unlawful conduct by Cincotta, which was well-known throughout the building.

       40.     Floyd’s request for an “editor” title started in 2019, during Schachter’s tenure, and

continued with the Interim News Director and through to the hiring of a new Editor-in-Chief in

June 2020. Despite the fact that Floyd had spent over a decade as WNYC’s go-to legal analyst and

de facto editor, WNYC still resisted giving her this title. At the same time, non-Black employees

with far less journalism experience were given editor titles. Since the other editors did not have

the expertise to edit legal stories, they routinely turned to Floyd to do so.

       41.     After Floyd had complained to Human Resources in June 2019, the SAG-AFTRA

union, and even the new CEO about this issue, WNYC finally gave her a “Legal Editor” title in

August 2020. Even then, there was no announcement of this title, or recognition of any kind, even

though management regularly sent out notices to announce similar title changes and other

achievements, which demonstrated to Floyd, yet again, that WNYC was treating her differently

than non-Black employees who were publicly acknowledged for such title or role changes.

Moreover, WNYC was not going to give Floyd any additional compensation for this role, until the

union intervened. As a result, WNYC paid Floyd a paltry amount for this new title (based only on

projected overtime which they asked her to calculate), despite her vast experience and

contributions. Floyd believes that she was paid significantly less than non-Black hosts to whom

she should have been compared over several years and through the end of her employment, and

that discovery in this lawsuit will reveal this pay inequity.

       42.     By 2020, Bowditch was running the Newsroom as the Interim News Director and

the work environment became worse as WNYC searched for Schachter’s replacement. Floyd

continued to strive to advance her career at WNYC, and had applied for the vacant role of Vice



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President, News in November 2019, after Schachter had been dismissed by WNYC and the role

was open. Floyd was hopeful the new management, including Sheikholeslami and Golis, would

be open to a more diverse C-Suite. Floyd was granted an interview for the role, and she used that

interview as an opportunity to share her ideas for improving the Newsroom, especially around

racial and gender diversity. As Sheikholeslami and Golis were conducting a listening tour in the

Newsroom concerning who they should hire for the position, Newsroom staffers were vocal in

their opinion that WNYC needed a person with broadcast news experience, a native New Yorker

(or least someone who knew the market), and a person of color to fill the role.

        43.     Nonetheless, in June 2020, WNYC selected Audrey Cooper to be the Editor-in-

Chief. Over 150 employees signed a petition opposing the hiring of Cooper. Notably, Floyd did

not sign the petition despite being passed over, yet again, for a promotion, this time in favor of a

less-qualified Caucasian, who had no knowledge of New York City and had no broadcast

experience. Floyd is a native New Yorker and had two decades of broadcast news experience at

that point in time. WNYC’s failure to select Floyd or someone from the pool of other diverse

candidates for this role is further evidence of racial bias.

        44.     When Sheikholeslami and Golis asked Floyd about the petition, Floyd explained

that employees were on edge, that they did not trust management dating back to the unlawful

conduct of Hockenberry and others, and that this hiring decision reinforced the notion that

management did not listen to or value input from staff. This hiring decision and the subsequent

conversations occurred at the time of George Floyd’s murder and related protests. Floyd

specifically told Sheikholeslami and Golis that, in this time of racial reckoning, WNYC’s culture

was not supportive of Black employees. Strangely, Sheikholeslami started to cry, at which point

Floyd told her that she (Floyd) was the one who did not get the job given to Cooper and, as the



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only Black person in the Zoom meeting room at the time, she had been asked to share experiences

to be helpful to management. Sheikholeslami’s emotion was misplaced and inappropriate.

       45.     WNYC’s decision to interview Floyd for the Editor-in-Chief role was part of a

sham process, as Golis had previously worked in the Bay Area where Cooper also was from and,

upon information and belief, had a preference to hire Cooper from the start. Floyd has no doubt

that WNYC’s decision to interview her was made to check a box that WNYC had interviewed a

“diverse” candidate, similar to the “Rooney Rule” in the National Football League. A review of

WNYC management over the past several years reinforces this belief, demonstrating a lack of

representation of Black people in senior content leadership roles. At the same time, there was no

lack of talented Black candidates, including Floyd, who was instead “promoted” in September

2020, in the wake of George Floyd’s murder, to run a Race & Justice Unit that purported to cover

communities of color.

       46.     Once she joined leadership, Cooper demonstrated her own strange brand of racial

hostility, or insensitivity at best. For example, in her first meeting with Floyd, she said that WNYC

was going to shutter the “Radio Rookies” program, a beloved, two decades-old program which

gave Black and brown high school students the tools to tell radio stories about their under-

represented communities. Floyd eventually persuaded Cooper to keep the program, as Cooper

could not articulate a good reason for eliminating it, but Cooper then directed Floyd to manage the

program. Cooper also demonstrated racial hostility toward employees of color, by making

comments that smacked of racism and suggesting that South Asians were laconic and lazy (e.g.,

repeatedly demeaning one employee of color for having “low metabolism” and another for “just

not getting what we do here”). Cooper also told Floyd that she did not value these and other

reporters, and then assigned those reporters to Floyd’s team, thereby messaging to Floyd the low



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esteem in which she held the Race & Justice Unit and creating what employees perceived to be a

“reporting ghetto,” sending a clear signal that the Race & Justice Unit was a dumping ground for

purportedly failing reporters of color who were deemed problematic and not respected by

management. By the end of 2021, all but one of the reporters who worked under Floyd in the Race

& Justice Unit had been pushed out by Cooper or had left WNYC, leaving Floyd with a single

reporter and further signifying to Floyd and her colleagues that the Race & Justice Unit was not a

meaningful part of the Newsroom.

        47.     Cooper and senior leaders simply did not support the Race & Justice Unit and never

intended for it to thrive. While WNYC sought to spin Floyd’s move to the Unit as a promotion, it

was anything but. That move took Floyd off air to assume responsibility for a desk with no budget

or authority to hire staff.

        48.     Despite promises that Floyd could hire diverse reporters for the Race & Justice

Unit, none were ever authorized – even though Floyd presented many qualified candidates. For

instance, in June 2021, Floyd recommended hiring a multilingual Arab-American journalist with

a degree from Columbia University’s Graduate School of Journalism. Cooper told Floyd that she

could not hire this journalist “because he is not Black.” Floyd was shocked at the comment and

reported this to WNYC’s Chief Human Resources Officer, Monique Jefferson, and Freed, but

nothing happened. At the same time, when Floyd fought to hire many qualified Black reporters,

WNYC refused to approve those hires. Simply put, WNYC viewed the Race & Justice Unit as

window dressing to make WNYC look good from a racial standpoint in the wake of George

Floyd’s murder, which also had the added benefit for management of removing Floyd from

working on air.




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        49.   Despite this, Floyd did not allow her negative experiences at WNYC to dampen her

enthusiasm for the work, supporting her team and winning awards for WNYC. In 2021, The

Vanishing of Harry Pace, on which Floyd served as consulting producer and in which she appears

throughout, was nominated for International Documentary Association Award. Blindspot Tulsa

Burning, on which she served as an Editor, received the 2022 duPont Award from Columbia

University and was a nominee for Outstanding Podcast at the NAACP Image Award that same

year.

        50.   In 2021, Floyd continued to endure WNYC’s disregard for her and other Black

talent. For instance, WNYC turned a blind eye to fellow editor Jen Chung’s disclosure of

confidential information to media outlets concerning Floyd, but WNYC management did nothing

to stop Chung or correct the clear misinformation that was being reported about Floyd. When the

New York Times incorrectly reported its story in November 2021 about articles under Floyd’s

name, WNYC’s management admitted to Floyd that the New York Times article contained factual

errors about Floyd and WNYC, but said WNYC would not be seeking a correction. Floyd lodged

a formal complaint with Jefferson about Chung’s behavior. Despite Jefferson’s assurances that

appropriate action would be taken, WNYC’s management condoned and acquiesced in Chung’s

wrongful conduct, which, upon information and belief, was directly related to work of the Race &

Justice Unit and therefore race-based. This conduct significantly damaged Floyd’s reputation in

the industry. WNYC’s failure to take steps to stop Chung’s wrongful behavior makes WNYC

complicit in that conduct. Floyd also believes that WNYC did not take steps to curtail or end

Chung’s misconduct because it was retaliating against Floyd for her continued complaints of race

discrimination.




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       51.     Throughout her time at WNYC, and especially after she was named Race & Justice

Editor in 2020, Black employees sought counsel from Floyd about being ignored or disregarded

at WNYC because of race. This treatment added to Black employees’ stress, worry and feelings

of anxiety and insecurity. This continued until Floyd’s voluntary departure in April 2022. One

such example involved a high-profile Afro-Latina, who experienced years of hostility and a lack

of equal support at WNYC, and then was forced out of WNYC by July 2021. This Afro-Latina

was vocal on Twitter at that time and often spoke with Floyd about her frustrations. Many other

well-respected Black and brown employees left WNYC because of the continuous hostile work

environment. One such former African-American employee told Floyd: “My time at WNYC was

easily the worst five years of my career. I really don’t want to revisit it, I’d rather not dredge up

painful memories.” Another Black person said: “My untethering from your current workplace

[WNYC] was dramatic, difficult and quite stressful. The mental health professional in my life

wisely advised me to create and honor serious distance between my now and my then. Just to heal

& focus on starting anew.” Current and former employees of WNYC continue to reach out to

Floyd about their experiences with racism at WNYC.

       52.     Despite Floyd’s repeated and good-faith complaints about race discrimination,

NYPR wholly ignored the law and its own anti-discrimination and anti-retaliation polices. Even

though NYPR maintained that it will investigate claims of discrimination and retaliation, Floyd

does not believe that NYPR appropriately investigated the complaints of discrimination and

retaliation that she made during her employment. NYPR played lip service to those hollow policies

and its commitment to employees that discrimination and retaliation is not tolerated at NYPR.

       53.     NYPR’s deplorable and inexplicable conduct, as described above and continued

throughout Floyd’s employment, demonstrated a willful and reckless disregard for Floyd’s rights



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under the applicable laws and caused her to lose wages and benefits and to suffer humiliation,

embarrassment, pain and suffering, as well as damage to her career and reputation.

                                 FIRST CAUSE OF ACTION
                        Race Discrimination in Violation of Section 1981

        54.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        55.     NYPR discriminated against Floyd on the basis of her race by denying her equal

terms and conditions of her employment, including failing to promote her and paying her less than

non-Black hosts to whom she should have been compared, in violation of Section 1981.

        56.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of Section 1981, Floyd has suffered, and

continues to suffer, monetary and/or economic harm, for which she is entitled to an award of

monetary damages.

        57.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of Section 1981, Floyd has suffered, and

continues to suffer, severe mental anguish and emotion distress including, but not limited to,

embarrassment, humiliation, stress and anxiety and emotional pain and suffering for which she is

entitled to compensatory damages.

        58.     NYPR’s unlawful and discriminatory conduct constitutes a willful and wanton

violation of Section 1981, was outrageous and malicious, was intended to injure Floyd, and was

done with conscious or reckless disregard of her rights under the law, entitling her to punitive

damages.




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                                SECOND CAUSE OF ACTION
                             Retaliation in Violation of Section 1981

        59.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        60.     NYPR retaliated against Floyd by denying her equal terms and conditions of

employment, by failing to promote her and by depriving her of compensation because of her

complaints about race discrimination, in violation of Section 1981.

        61.     As a direct and proximate result of NYPR’s unlawful retaliatory conduct during the

applicable statute of limitations period in violation of Section 1981, Floyd has suffered and

continues to suffer monetary and/or economic damages, including, but not limited to, loss of

income, compensation and benefits for which she is entitled to an award of monetary damages.

        62.     As a direct and proximate result of NYPR’s unlawful retaliatory conduct during the

applicable statute of limitations period in violation of Section 1981, Floyd has suffered and

continues to suffer severe mental anguish and emotional distress, including, but not limited to,

embarrassment, humiliation, stress and anxiety and emotional pain and suffering for which she is

entitled to compensatory damages.

        63.     NYPR’s unlawful and retaliatory conduct constitutes a willful and wanton violation

of Section 1981, was outrageous and malicious, was intended to injure Floyd, and was done with

conscious or reckless disregard of her rights under the law, entitling her to punitive damages.

                               THIRD CAUSE OF ACTION
                    Hostile Work Environment in Violation of Section 1981

        64.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.




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        65.     NYPR denied Floyd equal terms and conditions of her employment as described

above, including, but not limited to, subjecting her to and condoning a racially and retaliatory

hostile work environment.

        66.     As a direct and proximate result of NYPR’s unlawful conduct in violation of

Section 1981, which was a continuing violation during Floyd’s employment, she has suffered and

continues to suffer monetary and/or economic damages, including, but not limited to, loss of past

and future income, compensation and benefits for which she is entitled an award of monetary

damages.

        67.     As a direct and proximate result of NYPR’s unlawful conduct in violation of

Section 1981, Floyd has suffered and continues to suffer severe mental anguish and emotional

distress, including, but not limited to, embarrassment, humiliation, stress and anxiety and

emotional pain and suffering for which she is entitled to an award of compensatory damages.

        68.     NYPR’s unlawful conduct constitutes a willful and wanton violation of Section

1981, was outrageous and malicious, was intended to injure Floyd, and was done with conscious

or reckless disregard of her rights under the law, entitling her to punitive damages.

                                  FOURTH CAUSE OF ACTION
                            Race Discrimination in Violation of the SHRL

        69.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        70.     NYPR discriminated against Floyd on the basis of her race by denying her equal

terms and conditions of her employment, including failing to promote her and paying her less than

non-Black hosts to whom she should have been compared, in violation of the SHRL.

        71.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of the SHRL, Floyd has suffered, and

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continues to suffer, monetary and/or economic harm, for which she is entitled to an award of

monetary damages.

        72.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of the SHRL, Floyd has suffered, and

continues to suffer, severe mental anguish and emotion distress including, but not limited to,

embarrassment, humiliation, stress and anxiety and emotional pain and suffering for which she is

entitled to compensatory damages.

        73.     NYPR’s unlawful and discriminatory conduct constitutes a willful and wanton

violation of the SHRL, was outrageous and malicious, was intended to injure Floyd, and was done

with conscious or reckless disregard of her rights under the law, entitling her to punitive damages.

                                 FIFTH CAUSE OF ACTION
                              Retaliation in Violation of the SHRL

        74.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        75.     NYPR retaliated against Floyd by denying her equal terms and conditions of

employment, by failing to promote her and by depriving her of compensation because of her

complaints about race discrimination.

        76.     As a direct and proximate result of NYPR’s unlawful conduct during the applicable

statute of limitations period in violation of the SHRL, Floyd has suffered and continues to suffer

monetary and/or economic damages, including, but not limited to, loss of income, compensation

and benefits for which she is entitled an award of monetary damages.

        77.     As a direct and proximate result of NYPR’s unlawful conduct during the applicable

statute of limitations period in violation of the SHRL, Floyd has suffered and continues to suffer

severe mental anguish and emotional distress, including, but not limited to, embarrassment,

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humiliation, stress and anxiety and emotional pain and suffering for which she is entitled to an

award of compensatory damages.

        78.     NYPR’s unlawful conduct constitutes a willful and wanton violation of the SHRL,

was outrageous and malicious, was intended to injure Floyd, and was done with conscious or

reckless disregard of her rights under the law, entitling her to punitive damages.

                                SIXTH CAUSE OF ACTION
                      Hostile Work Environment in Violation of the SHRL

        79.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        80.     NYPR denied Floyd equal terms and conditions of her employment as described

above, including, but not limited to, subjecting her to and condoning a racially and retaliatory

hostile work environment, in violation of the SHRL.

        81.     As a direct and proximate result of NYPR’s unlawful conduct in violation of the

SHRL, which was a continuing violation during Floyd’s employment, she has suffered and

continues to suffer monetary and/or economic damages, including, but not limited to, loss of

income, compensation and benefits for which she is entitled an award of monetary damages.

        82.     As a direct and proximate result of NYPR’s unlawful conduct in violation of the

SHRL, Floyd has suffered and continues to suffer severe mental anguish and emotional distress,

including, but not limited to, embarrassment, humiliation, stress and anxiety and emotional pain

and suffering for which she is entitled to compensatory damages.

        83.     NYPR’s unlawful conduct constitutes a willful and wanton violation of the SHRL,

was outrageous and malicious, was intended to injure Floyd, and was done with conscious or

reckless disregard of her rights under the law, entitling her to punitive damages.




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                                  SEVENTH CAUSE OF ACTION
                            Race Discrimination in Violation of the CHRL

        84.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        85.     NYPR discriminated against Floyd on the basis of her race in violation of the CHRL

by treating her less well because of race, denying her equal terms and conditions of employment,

including paying her less than non-Black hosts to whom she should have been compared and

failing to promote her.

        86.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of the CHRL, Floyd has suffered, and

continues to suffer, monetary and/or economic harm, for which she is entitled to an award of

monetary damages and other relief.

        87.     As a direct and proximate result of NYPR’s unlawful discriminatory conduct during

the applicable statute of limitations period in violation of the CHRL, Floyd has suffered, and

continues to suffer, severe mental anguish and emotion distress including, but not limited to,

embarrassment, humiliation, stress and anxiety and emotional pain and suffering for which she is

entitled to compensatory damages.

        88.     NYPR’s unlawful and discriminatory conduct constitutes a willful and wanton

violation of the CHRL, was outrageous and malicious, was intended to injure Floyd, and was done

with conscious or reckless disregard of her rights under the law, entitling her to punitive damages.

                                  EIGHTH CAUSE OF ACTION
                                Retaliation in Violation of the CHRL

        89.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.



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        90.     NYPR retaliated against Floyd by treating her less well and terminating her

employment because of her complaints about race discrimination, in violation of the CHRL.

        91.     As a direct and proximate result of NYPR’s unlawful retaliatory conduct during the

applicable statute of limitations period in violation of the CHRL, Floyd has suffered and continues

to suffer monetary and/or economic damages, including, but not limited to, loss of income,

compensation and benefits for which she is entitled an award of monetary damages.

        92.     As a direct and proximate result of NYPR’s unlawful retaliatory conduct during the

applicable statute of limitations period in violation of the CHRL, Floyd has suffered and continues

to suffer severe mental anguish and emotional distress, including, but not limited to,

embarrassment, humiliation, stress and anxiety and emotional pain and suffering for which she is

entitled to compensatory damages.

        93.     NYPR’s unlawful conduct constitutes a willful and wanton violation of the CHRL,

was outrageous and malicious, was intended to injure Floyd, and was done with conscious or

reckless disregard of her rights under the law, entitling her to punitive damages.

                                 NINTH CAUSE OF ACTION
                      Hostile Work Environment in Violation of the CHRL

        94.     Floyd incorporates herein by reference the preceding paragraphs as if fully set forth

herein in their entirety.

        95.     NYPR denied Floyd equal terms and conditions of her employment as described

above, including, but not limited to, treating her less well because of her race and subjecting her

to and condoning a racially and retaliatory hostile work environment, in violation of the CHRL.

        96.     As a direct and proximate result of NYPR’s unlawful conduct in violation of the

CHRL, which was a continuing violation during Floyd’s employment, she has suffered and




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continues to suffer monetary and/or economic damages, including, but not limited to, loss of

income, compensation and benefits for which she is entitled an award of monetary damages.

       97.     As a direct and proximate result of NYPR’s unlawful conduct in violation of the

CHRL, Floyd has suffered and continues to suffer severe mental anguish and emotional distress,

including, but not limited to, embarrassment, humiliation, stress and anxiety and emotional pain

and suffering for which she is entitled to compensatory damages.

       98.     NYPR’s unlawful conduct constitutes a willful and wanton violation of the CHRL,

was outrageous and malicious, was intended to injure Floyd, and was done with conscious or

reckless disregard of her rights under the law, entitling her to punitive damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Floyd prays that this Court enter judgment in her favor and against NYPR

and grant to her the following relief:

       a.      A declaratory judgment that the actions, conduct and practices of the Defendants

complained of herein violate the laws of the United States and the State and City of New York;

       b.      An order directing NYPR to take such affirmative action as is necessary to ensure

that the effects of these unlawful employment practices are eliminated and do not continue to affect

Floyd’s employment and personal life;

       c.      An award for all economic damages to be determined at trial, plus pre-judgment

interest, to compensate Floyd for NYPR’s unlawful conduct, including back pay and lost benefits;

       d.      An award for all compensatory damages to be determined at trial, plus pre-

judgment interest, to compensate Floyd for future pecuniary losses, emotional distress, pain,

suffering, inconvenience, mental anguish, stress, anxiety, humiliation, embarrassment, loss of

enjoyment of life and other nonpecuniary losses as allowable;



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        e.     An award to Floyd for punitive damages under Section 1981, the SHRL and the

CHRL;

        f.     An award to Floyd for the costs incurred in this lawsuit, together with reasonable

attorneys’ fees; and

        g.     Such other and further relief as this Court deems appropriate.

                                        JURY DEMAND

        Floyd demands a trial by jury on all issues of fact, her claims and damages herein.

 Dated: Roseland, New Jersey
        February 9, 2023
                                                  CERASIA LAW LLC


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